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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-20131-CR-ALTMAN

   UNITED STATES,

          Plaintiff,
   v.

   HECTOR ACOSTA,

         Defendant.
   ______________________________/
                                               ORDER

   Before the Hon. Roy K. Altman:

          For the crime of defrauding Blue Cross Blue Shield out of hundreds of thousands of dollars,

   this Court sentenced Hector Acosta to 33 months in prison. After serving only seven of those

   months, Acosta filed this Motion, in which he asks the Court to give him home detention.1

          But this Court doesn’t have the power to compel the Bureau of Prisons (the “BOP”) to

   transfer Acosta to home detention. And, even if Acosta’s Motion could be construed as a request

   for a sentencing reduction, Acosta has not carried his burden of showing either (1) that his case

   presents “extraordinary and compelling” circumstances or (2) that he’s no longer a danger to the

   community. His Motion is therefore DENIED.

                                            THE FACTS

          The Defendant, Hector Acosta (“Acosta”), is 42 years old. See Response at 12. In 2019, he

   pled guilty to one count of conspiracy to commit healthcare fraud; in exchange, the Government




   1
    This Motion is now ripe. See Motion to Modify Sentence (the “Motion”) [ECF No. 148];
   Response to Motion to Modify Sentence (the “Response”) [ECF No. 153]; Reply to Response to
   Motion to Modify Sentence (the “Reply”) [ECF No. 157].
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   agreed to dismiss the remaining seven (substantive) counts of healthcare fraud. See Indictment

   [ECF No. 1] at 6; Plea Agreement [ECF No. 68].

           In the factual proffer he submitted at his guilty plea, Acosta admitted that, between

   November 2016 and February 2019, he and his co-conspirators submitted false and fraudulent

   claims to Blue Cross Blue Shield. See Factual Proffer [ECF No. 69] at 1. Acosta’s role, as President

   of Florida Management & Administration, was to submit claims either for medically unnecessary

   tests or else for tests that were never performed at all. Id. In total, Acosta admitted that the

   conspiracy’s fraudulent billings totaled at least $700,000. Id.

           After calculating Acosta’s advisory Guidelines range and considering the § 3553 factors,

   this Court sentenced him to 33 months in prison, to be followed by 24 months of supervised

   release. See Judgment [ECF No. 110]. The Court also ordered Acosta to pay $737,006 in

   restitution. Id.

           As of this writing, Acosta has served about one-third of his sentence. See Response at 2.

   His current release date is March 3, 2022—though it could be earlier if he’s transferred to a half-

   way house. See Mot. at 2.

                                               ANALYSIS

           I.         Home Confinement

           Acosta does not seek a reduction in his sentence; he requests only “an order modifying his

   sentence to home detention.” Id. at 1. The Government opposes this request and argues that “[o]nce

   a sentence is imposed, BOP alone is responsible for determining an inmate’s place of

   incarceration.” Response at 5.

           The Government is right when it says that this Court cannot tell the BOP where to house

   its inmates. See Tapia v. United States, 564 U.S. 319, 331 (2011) (“A sentencing court



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   can recommend that the BOP place an offender in a particular facility or program. See § 3582(a).

   But decisionmaking authority rests with the BOP.”); see also McKune v. Lile, 536 U.S. 24, 39

   (2002) (plurality opinion) (“It is well settled that the decision where to house inmates is at the core

   of prison administrators’ expertise.”). And home detention is still a form of “incarceration.” United

   States v. Springer, ____ F. App’x ____, 2020 WL 3989451, at *2 (10th Cir. July 15, 2020); see

   also id. (“Springer was transferred to home confinement under the recently enacted CARES Act

   due to the COVID-19 pandemic. Springer’s transfer to home confinement is not a release from

   imprisonment, nor does this transfer reduce the length of his custodial sentence.”); United States

   v. Ko, 739 F.3d 558, 561 (10th Cir. 2014) (“Section 3624(c) makes clear that, even though a

   prisoner is . . . in home confinement, he is still serving a ‘term of imprisonment.’ When read

   together, these statutes plainly indicate that a person is in the BOP’s ‘custody’ while serving the

   remainder of a sentence in home confinement.” (internal citations omitted)).

          While the Eleventh Circuit has not said whether courts may order home confinement under

   § 3582(c)(1)—the compassionate release provision at issue here—its analysis of the closely-

   related § 3582(c)(2) is instructive. Like our § 3582(c)(1), § 3582(c)(2) allows an inmate to petition

   for a reduced sentence only after the U.S. Sentencing Commission has lowered the Guidelines

   range under which that inmate was sentenced. See 18 U.S.C. § 3582(c)(2) (“In the case of a

   defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

   subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o), upon

   motion of the defendant or the Director of the Bureau of Prisons, or on its own motion, the court

   may reduce the term of imprisonment, after considering the factors set forth in section 3553(a) to

   the extent that they are applicable, if such a reduction is consistent with applicable policy

   statements issued by the Sentencing Commission.”). And, in the context of § 3582(c)(2), the



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   Eleventh Circuit has made clear that district courts may not intrude on the BOP’s core sphere of

   expertise by directing an inmate to home confinement. See United States v. Anderson, 517 F.

   App’x 772, 775 (11th Cir. 2013) (“[T]o the extent that Anderson requested that the district court

   order the BOP to place him in home confinement, that request is outside the scope of § 3582(c)(2).

   The BOP, not the district court, retained authority to choose the place of Anderson’s

   incarceration.”).

          Notably, the only federal appellate court to consider this issue under the provision at issue

   here (§ 3582(c)(1)) has held—consistent with the Eleventh Circuit’s approach in Anderson—that

   “the authority to grant home confinement remains solely with the Attorney General and the

   BOP.” United States v. Brummett, 2020 WL 5525871, at *2 (6th Cir. Aug. 19, 2020). And many

   district courts in this Circuit agree. See United States v. Bonilla Mesa, 2020 WL 4757335, at *7

   (S.D. Fla. July 17, 2020) (“Defendant asks, in the alternative, that the Court place him on home

   confinement for the remainder of his sentence. The Court has no authority to order this relief.”);

   United States v. Israel, 2020 WL 3893987, at *9 (S.D. Fla. July 10, 2020) (“First, to the extent that

   Defendant seeks release to home confinement, the Court is without authority to grant the requested

   relief.”); United States v. Christian, 2020 WL 5518616, at *1 (S.D. Ga. Sept. 14, 2020) (“This

   Court lacks the authority to order the BOP to release a prisoner on home confinement.”); United

   States v. Hester, 2020 WL 5535010, at *1 n.1 (M.D. Ala. Sept. 15, 2020) (“To the extent that

   Hester seeks release to home confinement pursuant to the CARES Act due to the COVID-19

   pandemic (doc. 66 at 10), the Court has no authority to order the Bureau of Prisons to change the

   Defendant’s current place of incarceration.”); United States v. Brantly, 2020 WL 5514571, at *1

   (M.D. Fla. Sept. 14, 2020) (“However, the Court has no authority to direct the Bureau of Prisons

   (BOP) to place Brantley in home confinement because such decisions are committed solely to the



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   BOP’s discretion.”). This Court, in short, does not have the authority to grant Acosta the relief he

   seeks.

            Of course, this discussion is, in some respects, academic because the Court could achieve

   the same result by simply reducing Acosta’s sentence to time served and then “impos[ing] a term

   of supervised release equal to the unserved time and order, as a condition of that supervised release,

   that the defendant be confined to his home.” United States v. Spencer, 2020 WL 5498932, at *2

   (6th Cir. Sept. 2, 2020); Israel, 2020 WL 3893987, at *9 (“Although the Court does not have the

   authority to order a prisoner’s release to home confinement, the Court does have the authority to

   reduce a defendant’s sentence to time-served, impose a term of supervised release, and order home

   confinement as a condition of supervised release.”). To do this, though, the Court would have to

   conclude that Acosta has carried his burden of showing that he’s entitled to that reduction—which,

   for the reasons set out below, he fails to do.

            II.    Sentence Reduction

            Section 3582 sets out the order in which this Court should analyze a criminal defendant’s

   entitlement to a sentencing reduction. First, when the defendant brings the motion himself, the

   Court must ascertain whether he “has fully exhausted all administrative rights to appeal a failure

   of the Bureau of Prisons to bring a motion on the defendant’s behalf or [whether there has been a]

   lapse of 30 days from the receipt of such a request by the warden of the defendant’s facility,

   whichever is earlier.” 18 U.S.C. § 3582(c)(1)(a). Second, the Court should “consider[] the factors

   set forth in section 3553(a) to the extent that they are applicable.” Id. Third, the Court should turn

   to the “extraordinary and compelling reasons” test, as outlined in U.S.S.G. § 1B1.13 cmt. n.1. And

   fourth, the Court should determine whether the defendant poses a “danger to the safety of any other




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   person or to the community, as provided in 18 U.S.C. § 3142(g).” Id. The Court will discuss each

   of these four steps in turn.

                   A. Exhaustion of Administrative Rights to Appeal

           Acosta asserts that he exhausted his administrative remedies when the Warden failed to

   respond to his request within 30 days of receiving it. See Mot. at 7; see also April 17, 2020 Letter

   to Warden [ECF No. 148-1]. The Government does not challenge this assertion—and, in any event,

   the combination of Acosta’s Letter and the Warden’s silence satisfy the exhaustion requirement.

   Acosta’s Motion is therefore timely.

                   B. 18 U.S.C. § 3553

           After considering the relevant § 3553 factors, this Court sentenced Acosta to 33 months in

   prison. See Judgment. Acosta did not appeal, and the time to do so has passed. Acosta does not

   challenge this Court’s application of the § 3553 factors. See Mot. Thus, to the extent they are

   applicable, those § 3553 factors counsel against a reduction here.

                   C. 18 U.S.C. § 3582

           District Courts have “no inherent authority” to modify a prison sentence. United States v.

   Diaz-Clark, 292 F.3d 1310, 1315, 1319 (11th Cir. 2002). Instead, the “authority of a district court

   to modify an imprisonment sentence is narrowly limited by statute.” United States v. Phillips, 597

   F.3d 1190, 1194–95 (11th Cir. 2010). The statute that governs sentence reductions for

   compassionate medical release provides, in pertinent part, as follows:

           (c) Modification of an imposed term of imprisonment.--The court may not
           modify a term of imprisonment once it has been imposed except that—

           (1) in any case—

           (A) the court, upon motion of the Director of the Bureau of Prisons, or upon motion
               of the defendant after the defendant has fully exhausted all administrative rights
               to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

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              behalf or the lapse of 30 days from the receipt of such a request by the warden
              of the defendant’s facility, whichever is earlier, may reduce the term of
              imprisonment (and may impose a term of probation or supervised release with
              or without conditions that does not exceed the unserved portion of the original
              term of imprisonment), after considering the factors set forth in section 3553(a)
              to the extent that they are applicable, if it finds that—

              (i)     extraordinary and compelling reasons warrant such a reduction; or

              (ii)    the defendant is at least 70 years of age, has served at least 30 years in
                      prison, pursuant to a sentence imposed under section 3559(c), for the
                      offense or offenses for which the defendant is currently imprisoned, and
                      a determination has been made by the Director of the Bureau of Prisons
                      that the defendant is not a danger to the safety of any other person or
                      the community, as provided under section 3142(g); and that such a
                      reduction is consistent with applicable policy statements issued by the
                      Sentencing Commission; and

          (B) the court may modify an imposed term of imprisonment to the extent otherwise
              expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal
              Procedure; and

   18 U.S.C. § 3582(c)(1).

          Because Acosta is not “at least 70 years of age,” he does not qualify for release under §

   3582(c)(1)(A)(ii). The viability of his request thus turns on the “extraordinary and compelling

   reasons” test in § 3582(c)(1)(A)(i). But Section 3582 never describes the kinds of “[e]xtraordinary

   and compelling reasons” that might “warrant a reduction.” Under 28 U.S.C. § 994, however, the

   United States Sentencing Commission (the “Commission”) is authorized to “describe what should

   be considered extraordinary and compelling reasons for sentence reduction [under 18 U.S.C. §

   3582].” 28 U.S.C. § 994(t). And the Commission has helpfully defined the contours of the test as

   follows:

          1. Extraordinary and Compelling Reasons.--Provided the defendant meets the
             requirements of subdivision (2), extraordinary and compelling reasons exist
             under any of the circumstances set forth below:

          (A) Medical Condition of the Defendant.



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              (i) The defendant is suffering from a terminal illness (i.e., a serious and
              advanced illness with an end of life trajectory). A specific prognosis of life
              expectancy (i.e., a probability of death within a specific time period) is not
              required. Examples include metastatic solid-tumor cancer, amyotrophic lateral
              sclerosis (ALS), end-stage organ disease, and advanced dementia.

              (ii) The defendant is

                 (I) suffering from a serious physical or medical condition,

                 (II) suffering from a serious functional or cognitive impairment, or

                 (III) experiencing deteriorating physical or mental health because of the
                 aging process,

                 that substantially diminishes the ability of the defendant to provide self-care
                 within the environment of a correctional facility and from which he or she
                 is not expected to recover.

          (B) Age of the Defendant.--The defendant (i) is at least 65 years old; (ii) is
          experiencing a serious deterioration in physical or mental health because of the
          aging process; and (iii) has served at least 10 years or 75 percent of his or her term
          of imprisonment, whichever is less.

   U.S.S.G. § 1B1.13 cmt n.1.

          The reference to “subdivision (2)” requires the Defendant to show that he is “not a danger

   to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

   U.S.S.G. § 1B1.13(2). And § 3142(g), in turn, instructs federal courts to consider the following

   factors when determining whether a defendant poses a danger to the safety of any other person or

   the community:

          (g) Factors to be considered.--The judicial officer shall, in determining whether
          there are conditions of release that will reasonably assure the appearance of the
          person as required and the safety of any other person and the community, take into
          account the available information concerning—

          (1) the nature and circumstances of the offense charged, including whether the
          offense is a crime of violence, a violation of section 1591, a Federal crime of
          terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
          or destructive device;



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          (2) the weight of the evidence against the person;

          (3) the history and characteristics of the person, including—

                  (A) the person’s character, physical and mental condition, family ties,
                  employment, financial resources, length of residence in the community,
                  community ties, past conduct, history relating to drug or alcohol abuse,
                  criminal history, and record concerning appearance at court proceedings;
                  and

                  (B) whether, at the time of the current offense or arrest, the person was on
                  probation, on parole, or on other release pending trial, sentencing, appeal,
                  or completion of sentence for an offense under Federal, State, or local law;
                  and

          (4) the nature and seriousness of the danger to any person or the community that
          would be posed by the person’s release. In considering the conditions of release
          described in subsection (c)(1)(B)(xi) or (c)(1)(B)(xii) of this section, the judicial
          officer may upon his own motion, or shall upon the motion of the Government,
          conduct an inquiry into the source of the property to be designated for potential
          forfeiture or offered as collateral to secure a bond, and shall decline to accept the
          designation, or the use as collateral, of property that, because of its source, will not
          reasonably assure the appearance of the person as required.

   18 U.S.C. § 3142(g).

          The Defendant bears the burden of establishing both that his circumstances qualify as

   “extraordinary and compelling reasons” and that he no longer represents a danger to any other

   person or the community. See United States v. Hamilton, 715 F.3d 328, 337 (11th Cir. 2013); see

   also Cannon v. United States, 2019 WL 5580233, at *2 (S.D. Ala. Oct. 29, 2019); United States

   v. Heromin, 2019 WL 2411311, at *2 (M.D. Fla. June 7, 2019).

          As a preliminary matter, Acosta cannot satisfy the “Age of the Defendant” test: He is 42

   years old, not 65; he has not alleged any age-related decline; and he has served neither 10 years

   nor 75% of his overall sentence. His request for relief, then, hinges on his ability to meet either of

   the two elements of the “Medical Condition of the Defendant” test. The first element requires him

   to show that he suffers from a “terminal illness.” U.S.S.G. § 1B1.13 cmt n.1(1)(A)(i). The second



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   requires him to establish that he suffers from any of three conditions “that substantially diminishes

   [his] ability . . . to provide self-care within the environment of a correctional facility and from

   which he or she is not expected to recover.” U.S.S.G. § 1B1.13 cmt n.1(1)(A)(ii).

          Acosta claims to suffer from high blood pressure and an enlarged heart—two conditions

   that, he says, would exacerbate any COVID-19 infection. See Mot. at 3–4. Although the

   Government admits that Acosta has high blood pressure, it insists that this condition is being

   managed with medication. See Response at 13. And, in support of the Government’s separate

   position that Acosta doesn’t have an enlarged heart, it has submitted a radiologist’s report, which

   found that his “cardiac silhouette is normal.” Id. Acosta never contradicts either of these assertions.

   See generally Reply.

          But, even with hypertension, Acosta has not shown that his case presents the kind of

   “extraordinary and compelling” circumstances that might justify the remedy he seeks. To begin

   with, Acosta never alleges that his (medically-controlled) hypertension (1) constitutes a “serious

   physical or medical condition,” (2) qualifies as “a serious functional or cognitive impairment,” or

   (3) indicates a “deteriorating physical or mental health because of the aging process,” as required

   by U.S.S.G. § 1B1.13 cmt n.1(1)(A)(ii). See generally Mot. Nor does Acosta contend that

   hypertension qualifies as a “terminal” illness under U.S.S.G. § 1B1.13 cmt n.1(1)(A)(i). See id.

          The Court acknowledges that the spread of COVID-19 has been pervasive and devastating.

   It has challenged our institutions, undermined Americans’ ability to maintain their economic

   security, and altered the way people interact. More fundamentally, it goes without saying, the

   pandemic has resulted in widespread suffering. In the United States alone, more than 8,100,000

   people have tested positive for the disease, and over 210,000 Americans have died from it. See




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   CDC COVID Data Tracker., CDC (Oct. 1, 2020), available at https://covid.cdc.gov/covid-data-

   tracker/#cases_totalcases (last accessed Oct. 20, 2020).

          And, while “the mere existence of COVID-19 in society and the possibility that it may

   spread to a particular prison alone cannot independently justify compassionate release,” United

   States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020), the CDC has recognized that hypertension

   “might” put people “at increased risk of a severe illness,” CDC People at Increased Risk: People

   with Certain Medical Conditions, available at https://www.cdc.gov/coronavirus/2019-ncov/need-

   extra-precautions/people-with-medical-conditions.html (last accessed Oct. 20, 2020). It is

   therefore conceivable that Acosta could suffer a “serious physical . . . condition” if he were to

   contract COVID-19. But, even considering Acosta’s enhanced susceptibility to COVID-19, for

   three reasons, Acosta’s hypertension does not constitute the kind of “extraordinary and compelling

   reason” that would justify the reduction he asks for.

          First, Acosta provides no evidence that hypertension increases his risk of contracting

   COVID-19. Instead, he says only that “[i]t [is] impossible to know if inmates at FCI Miami are

   being tested, quarantined, or how severe the outbreak is at that facility.” Mot. at 5. While that may

   have been true when the Motion was submitted, as of this writing—some four months later—FCI

   Miami (where Acosta is housed) is reporting only seven active COVID-19 cases. See Bureau of

   Prisons COVID-19 Cases, available at https://www.bop.gov/coronavirus/ (last accessed Oct. 20,

   2020). In this respect, Acosta does not acknowledge, much less respond to, the Government’s

   argument that the BOP has taken, and will continue to take, drastic measures to make FCI Miami

   as safe as possible in the circumstances. These include “requir[ing] that all inmates in every BOP

   institution be secured in their assigned cells/quarters, in order to stop any spread of the disease”

   and allowing “[o]nly limited group gathering” with “attention to social distancing to the extent



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   possible, to facilitate commissary, laundry, showers, telephone, and computer access.” Response

   at 9. The BOP has also “severely limited the movement of inmates and detainees among its

   facilities” and cancelled “all official staff travel” and “most staff training.” Id. at 9.

           Most importantly, the Government says that, under current BOP protocols,

   “[a]ll staff and inmates have been and will continue to be issued face masks and strongly

   encouraged to wear an appropriate face covering when in public areas when social distancing

   cannot be achieved.” Id. at 10. Moreover, all new inmates are screened for COVID-19 symptoms.

   Id. In addition, “[a]symptomatic inmates with risk of exposure are placed in quarantine for a

   minimum of 14 days or until cleared by medical staff,” and “[s]ymptomatic inmates are placed in

   isolation until they test negative for COVID-19 or are cleared by medical staff as meeting CDC

   criteria for release from isolation.” Id. Acosta never mentions these protocols and thus never

   explains why these measures are unlikely to protect him. See generally Reply. Either way, as we

   have seen, these measures have resulted in very few inmates at FCI Miami contracting COVID-

   19.

           Second, even if he were to contract COVID-19, Acosta does not dispute that he is—and

   for some time has been—taking medications that have brought his hypertension under control. See

   Response at 13. And Acosta never suggests that his controlled hypertension somehow exposes

   him to a greater risk of serious illness or death than that faced by the average inmate.

           Third, Acosta does not allege that his health conditions are significantly deteriorating, and

   “the BOP Director has not found COVID-19 alone to be a basis for compassionate release.” United

   States v. Harris, 2020 WL 1969951, at *2 (M.D. Fla. Apr. 24, 2020) (citing United States v.

   Eberthard, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020). The Court sees no reason to depart

   from the BOP’s well-reasoned view on this question.



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          Because Acosta has not shown that his circumstances are “compelling” or “extraordinary,”

   his Motion must be DENIED.

                  D. 18 U.S.C. § 3142

          Even if Acosta had shown “extraordinary and compelling” circumstances, his Motion

   would still be denied because he has failed to establish that he no longer poses a danger to his

   community. As the relevant Sentencing Guidelines provision makes clear, the “extraordinary and

   compelling reasons” test only applies if “the defendant meets the requirements of subdivision

   (2)”—that is, only if the Defendant demonstrates that he no longer poses a threat to society, as

   defined by 18 U.S.C. § 3142.

          Acosta has not even attempted to show that he represents no such danger. See generally

   Mot. (failing to argue any of the § 3142 factors). And it was indisputably his burden to do so. See

   Cannon v. United States, 2019 WL 5580233, at *2 (S.D. Ala. Oct. 29, 2019); United States v.

   Heromin, 2019 WL 2411311, at *2 (M.D. Fla. June 7, 2019). This omission is fatal to his claim.

                                                  ***

          The Court, therefore, ORDERS and ADJUDGES as follows:

          1. The Defendant’s Motion for Reduction in Sentence [ECF No. 148] is DENIED.

          DONE AND ORDERED in Fort Lauderdale, Florida this 20th day of October 2020.




                                                           _________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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